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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 19-61663-CIV-ALTMAN/Hunt

  STACYE PETERSON, individually
  and on behalf of all others similarly situated,

         Plaintiff,
  v.

  I.C. SYSTEM, INC.,

        Defendant.
  ______________________________________/

                                                ORDER

         THIS MATTER comes before the Court upon a sua sponte examination of the record.

         On August 26, 2019, the Court entered a Scheduling Order [ECF No. 9], requiring the

  parties, by September 16, 2019, to select a mediator pursuant to Local Rule 16.2 and to schedule

  a time, date, and place for mediation. As of this Order, the parties have not complied with the

  Court’s Order. Nor have they requested an extension of time within which to do so.

         Accordingly, the Court hereby

         ORDERS the parties to comply with the requirements of the Scheduling Order by

  September 20, 2019. The proposed order shall be filed on the docket and emailed to

  altman@flsd.uscourts.gov in Word format. Failure to comply with this Order may result in

  dismissal without prejudice and without further notice.

         DONE AND ORDERED in Fort Lauderdale, Florida, this 17th day of September 2019.




                                                            _________________________________
                                                            ROY K. ALTMAN
                                                            UNITED STATES DISTRICT JUDGE
  cc:    counsel of record
